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                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Jeanne Alvi                                                                                                         Check if this is:
                                                                                                                                                                                                                            An amended filing
                                                                                    Debtor 2
                                                                                    (Spouse, if filing)                                                                                                                 Chapter you are filing under:
                                                                                                                                                                                                                            Chapter 7
                                                                                    United States Bankruptcy Court for the Northern District of Illinois                                                                    Chapter 11
                                                                                                                                                                                                                            Chapter 12
                                                                                    Case number                                                                                                                             Chapter 13
                                                                                    (If known)



                                                                               Official Form 101
                                                                               Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                         04/20


                                                                               The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together--called a
                                                                               joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a
                                                                               car," the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1
                                                                               and Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2.
                                                                               The same person must be Debtor 1 in all of the forms.

                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
                                                                               number (if known). Answer every question.


                                                                                Part 1:              Identify Yourself

                                                                                                                         About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):

                                                                               1.    Your full name                      Jeanne                                                            N/A
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                                                                                                                         First name                                                        First name
                                                                                     Write the name that is on your
                                                                                     government-issued picture           Middle name                                                       Middle name
                                                                                     identification (for example,        Alvi
                                                                                     your driver’s license or
                                                                                                                         Last name                                                         Last name
                                                                                     passport).

                                                                                     Bring your picture                  Suffix (Sr., Jr., II, III)                                        Suffix (Sr., Jr., II, III)
                                                                                     identification to your meeting
                                                                                     with the trustee.



                                                                               2.    All other names you have N/A                                                                          N/A
                                                                                     used in the last 8 years. First name                                                                  First name

                                                                                     Include your married or             Middle name                                                       Middle name
                                                                                     maiden names.
                                                                                                                         Last name                                                         Last name

                                                                                                                         Suffix (Sr., Jr., II, III)                                        Suffix (Sr., Jr., II, III)

                                                                                                                         N/A                                                               N/A
                                                                                                                         First name                                                        First name

                                                                                                                         Middle name                                                       Middle name

                                                                                                                         Last name                                                         Last name

                                                                                                                         Suffix (Sr., Jr., II, III)                                        Suffix (Sr., Jr., II, III)




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                                                                               3.   Only the last 4 digits of   XXX-XX-7632                                                    N/A
                                                                                    your Social Security
                                                                                    number or federal
                                                                                    Individual Taxpayer
                                                                                    Identification number
                                                                                    (ITIN)



                                                                               4.   Any business names and        I have not used any business names or EINs                         I have not used any business names or EINs
                                                                                    Employer Identification
                                                                                    Numbers (EIN) you have Fashion Corner                                                      N/A
                                                                                    used in the last 8 years. Business name                                                    Business name
                                                                                                              Deck the Neck                                                    N/A
                                                                                    Include trade names and     Business name                                                  Business name
                                                                                    doing business as names.

                                                                                                                                                                               N/A
                                                                                                                EIN                                                            EIN

                                                                                                                                                                               N/A
                                                                                                                EIN                                                            EIN




                                                                               5.   Where you live                                                                             If Debtor 2 lives at a different address:

                                                                                                                2915 Covert Road                                               N/A
                                                                                                                Number    Street                                               EIN



                                                                                                                Glenview IL 60025
                                                                                                                City, State, Zip Code
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                                                                                                                Cook
                                                                                                                County

                                                                                                                If your mailing address is different from the one
                                                                                                                above, fill it in here. Note that the court will send
                                                                                                                any notices to you at this mailing address.

                                                                                                                PO Box 372
                                                                                                                Number    Street



                                                                                                                Glenview IL 60025
                                                                                                                City, State, Zip Code




                                                                               6.   Why you are choosing        Check one:                                                     Check one:
                                                                                    this district to file for
                                                                                    bankruptcy                        Over the last 180 days before filing this                      Over the last 180 days before filing this
                                                                                                                      petition, I have lived in this district longer                 petition, I have lived in this district longer
                                                                                                                      than in any other district.                                    than in any other district.

                                                                                                                      I have another reason. Explain. (See 28                        I have another reason. Explain. (See 28
                                                                                                                      U.S.C. § 1408.)                                                U.S.C. § 1408.)

                                                                                                                      N/A                                                            N/A




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                                                                                Part 2:        Tell the Court About Your Bankruptcy Case

                                                                               7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
                                                                                    Bankruptcy Code you are Bankruptcy (Form B2010)). Also, go to the top of page 1 and check the appropriate box.
                                                                                    choosing to file under
                                                                                                                Chapter 7

                                                                                                                        Chapter 11

                                                                                                                        Chapter 12

                                                                                                                        Chapter 13



                                                                               8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                                                                                                        local court for more details about how you may pay. Typically, if you are paying the fee
                                                                                                                        yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                                                                                        submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                                                                                                        a pre-printed address.

                                                                                                                        I need to pay the fee in installments. If you choose this option, sign and attach the Application
                                                                                                                        for Individuals to Pay Your Filing Fee in Installments (Official Form 103A).

                                                                                                                        I request that my fee be waived (You may request this option only if you are filing for Chapter
                                                                                                                        7. By law, a judge may, but is not required to, waive your fee, and may do so only if your income
                                                                                                                        is less than 150% of the official poverty line that applies to your family size and you are unable
                                                                                                                        to pay the fee in installments). If you choose this option, you must fill out the Application to
                                                                                                                        Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



                                                                               9.   Have you filed for                  No
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                                                                                    bankruptcy within the
                                                                                    last 8 years?                       Yes        District Northern District of Illinois         When        06/25/2017
                                                                                                                   Case number   17-19129
                                                                                                                                                                                 MM/DD/YYYY

                                                                                                                                   District   N/A                       When                   Case number
                                                                                                                                                                                 MM/DD/YYYY

                                                                                                                                   District   N/A                       When                   Case number
                                                                                                                                                                                 MM/DD/YYYY




                                                                               10. Are any bankruptcy                   No
                                                                                   cases pending or being
                                                                                   filed by a spouse who is             Yes        Debtor     N/A                                              Relationship
                                                                                   not filing this case with
                                                                                   you, or by a business                           District                             When                   Case number
                                                                                   partner, or by an                                                                             MM/DD/YYYY
                                                                                   affiliate?

                                                                                                                                   Debtor     N/A                                              Relationship

                                                                                                                                   District                             When                   Case number
                                                                                                                                                                                 MM/DD/YYYY




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                                                                               11. Do you rent your                     No. Go to line 12.
                                                                                   residence?                           Yes. Has your landlord obtained an eviction judgment against you?

                                                                                                                                  No. Go to line 12.
                                                                                                                                  Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                                                                                                  part of this bankruptcy petition.


                                                                                Part 3:         Report About Any Businesses You Own as a Sole Proprietor



                                                                               12. Are you a sole proprietor            No.   Go to Part 4.
                                                                                   of any full- or part-time
                                                                                   business?                            Yes. Name and location of business(es)

                                                                                    A sole proprietorship is a                Fashion Corner
                                                                                    business you operate as an                Name of business, if any
                                                                                    individual, and is not a
                                                                                    separate legal entity such as
                                                                                    a corporation, partnership, or
                                                                                                                              6832 Oakton Street
                                                                                    LLC.                                      Number    Street



                                                                                                                              Morton Grove IL 60053
                                                                                                                              City, State, Zip Code

                                                                                                                              Check the appropriate box to describe your business:
                                                                                                                                  Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                                                                                                  Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                                                                                                  Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                                                                                                  Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                                                                                                  None of the above
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                                                                                                                     ----------------

                                                                                                                              Deck the Neck
                                                                                                                              Name of business, if any

                                                                                                                              PO Box 372
                                                                                                                              Number    Street



                                                                                                                              Glenview IL 60025
                                                                                                                              City, State, Zip Code

                                                                                                                              Check the appropriate box to describe your business:
                                                                                                                                  Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                                                                                                  Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                                                                                                  Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                                                                                                  Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                                                                                                  None of the above




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                                                                               13. Are you filing under               If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
                                                                                   Chapter 11 of the                  choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a
                                                                                   Bankruptcy Code and                small business debtor or you are proceeding under Subchapter V, you must attach your most recent balance
                                                                                                                      sheet, statement of operations, cash-flow statement, and federal income tax return or if any of these documents
                                                                                   are you a small                    do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                                   business debtor?
                                                                                                                           No.        I am not filing under Chapter 11.
                                                                                    For a definition of small
                                                                                    business debtor, see 11
                                                                                    U.S.C. § 101(51D).
                                                                                                                           No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                                                                                                      the Bankruptcy Code.

                                                                                                                           Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                                                                                                      Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                                                                                                           Yes.       I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                                                                                                      Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.


                                                                                Part 4:         Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

                                                                               14. Do you own or have any                  No.
                                                                                   property that poses or
                                                                                   is alleged to pose a                    Yes.
                                                                                   threat of imminent and
                                                                                   identifiable hazard to
                                                                                   public health or
                                                                                   safety? Or do you own
                                                                                   any property that needs
                                                                                   immediate attention?

                                                                                    For example, do you own
                                                                                    perishable goods, or
                                                                                    livestock that must be fed,
                                                                                    or a building that needs
                                                                                    urgent repairs?
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                                                                                Part 5:         Explain Your Efforts to Receive a Briefing About Credit Counseling

                                                                                                                      About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

                                                                               15. Tell the court whether             You must check one:                                           You must check one:
                                                                                   you have received
                                                                                   briefing about credit                   I received a briefing from an approved                        I received a briefing from an approved
                                                                                                                           credit counseling agency within the 180                       credit counseling agency within the 180
                                                                                   counseling.                             days before I filed this bankruptcy                           days before I filed this bankruptcy petition,
                                                                                                                           petition, and I received a certificate of                     and I received a certificate of completion.
                                                                                    The law requires that you
                                                                                                                           completion.
                                                                                    receive a briefing about credit
                                                                                                                                                                                         Attach a copy of the certificate and the
                                                                                    counseling before you file for
                                                                                                                           Attach a copy of the certificate and the                      payment plan, if any, that you developed with
                                                                                    bankruptcy. You must
                                                                                                                           payment plan, if any, that you developed with                 the agency.
                                                                                    truthfully check one of the
                                                                                                                           the agency.
                                                                                    following choices. If you
                                                                                                                                                                                         I received a briefing from an approved
                                                                                    cannot do so, you are not
                                                                                                                           I received a briefing from an approved                        credit counseling agency within the 180
                                                                                    eligible to file.
                                                                                                                           credit counseling agency within the 180                       days before I filed this bankruptcy petition,
                                                                                                                           days before I filed this bankruptcy petition,                 but I do not have a certificate of completion.
                                                                                    If you file anyway, the court
                                                                                                                           but I do not have a certificate of
                                                                                    can dismiss your case, you will
                                                                                                                           completion.                                                   Within 14 days after you file this bankruptcy
                                                                                    lose whatever filing fee you
                                                                                                                                                                                         petition, you MUST file a copy of the
                                                                                    paid, and your creditors can
                                                                                                                           Within 14 days after you file this bankruptcy                 certificate and payment plan, if any.
                                                                                    begin collection activities
                                                                                                                           petition, you MUST file a copy of the
                                                                                    again.
                                                                                                                           certificate and payment plan, if any.




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                                                                                                            About Debtor 1:                                             About Debtor 2 (Spouse Only in a Joint Case):
                                                                                                                I certify that I asked for credit                            I certify that I asked for credit
                                                                                                                counseling services from an approved                         counseling services from an approved
                                                                                                                agency, but was unable to obtain those                       agency, but was unable to obtain those
                                                                                                                services during the 7 days after I made my                   services during the 7 days after I made my
                                                                                                                request, and exigent circumstances merit                     request, and exigent circumstances merit a
                                                                                                                a 30-day temporary waiver of the                             30-day temporary waiver of the
                                                                                                                requirement.                                                 requirement.

                                                                                                                To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
                                                                                                                requirement, attach a separate sheet                         requirement, attach a separate sheet
                                                                                                                explaining what efforts you made to obtain the               explaining what efforts you made to obtain the
                                                                                                                briefing, why you were unable to obtain it                   briefing, why you were unable to obtain it
                                                                                                                before you filed for bankruptcy, and what                    before you filed for bankruptcy, and what
                                                                                                                exigent circumstances required you to file this              exigent circumstances required you to file this
                                                                                                                case.                                                        case.

                                                                                                                Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                                                                                                dissatisfied with your reasons for not                       dissatisfied with your reasons for not receiving
                                                                                                                receiving a briefing before you filed for                    a briefing before you filed for bankruptcy. If
                                                                                                                bankruptcy. If the court is satisfied with your              the court is satisfied with your reasons, you
                                                                                                                reasons, you must still receive a briefing                   must still receive a briefing within 30 days
                                                                                                                within 30 days after you file. You must file a               after you file. You must file a certificate
                                                                                                                certificate from the approved agency, along                  from the approved agency, along with a copy
                                                                                                                with a copy of the payment plan you                          of the payment plan you developed, if any. If
                                                                                                                developed, if any. If you do not do so, your                 you do not do so, your case may be dismissed.
                                                                                                                case may be dismissed.
                                                                                                                                                                             Any extension of the 30-day deadline is
                                                                                                                Any extension of the 30-day deadline is                      granted only for cause and is limited to a
                                                                                                                granted only for cause and is limited to a                   maximum of 15 days.
                                                                                                                maximum of 15 days.

                                                                                                                I am not required to receive a briefing                      I am not required to receive a briefing
                                                                                                                about credit counseling because of:                          about credit counseling because of:

                                                                                                                     Incapacity.     I have a mental illness                      Incapacity.     I have a mental illness or
                                                                                                                                     or a mental deficiency                                       a mental deficiency that
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                                                                                                                                     that makes me incapable                                      makes me incapable of
                                                                                                                                     of realizing or making                                       realizing or making
                                                                                                                                     rational decisions about                                     rational decisions about
                                                                                                                                     finances.                                                    finances.

                                                                                                                     Disability.     My physical disability                       Disability.     My physical disability
                                                                                                                                     causes me to be unable to                                    causes me to be unable to
                                                                                                                                     participate in a briefing                                    participate in a briefing
                                                                                                                                     in person, by phone, or                                      in person, by phone, or
                                                                                                                                     through the internet, even                                   through the internet, even
                                                                                                                                     after I reasonably tried to                                  after I reasonably tried to
                                                                                                                                     do so.                                                       do so.

                                                                                                                     Active duty.    I am currently on active                     Active duty.    I am currently on active
                                                                                                                                     military duty in a                                           military duty in a military
                                                                                                                                     military combat zone.                                        combat zone.

                                                                                                                If you believe you are not required to receive a             If you believe you are not required to receive a
                                                                                                                briefing about credit counseling, you must file              briefing about credit counseling, you must file
                                                                                                                a motion for waiver of credit counseling with                a motion for waiver of credit counseling with
                                                                                                                the court.                                                   the court.




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                                                                                Part 6:        Answer These Questions for Reporting Purposes

                                                                               16. What kind of debts do       16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
                                                                                   you have?                           "incurred by an individual primarily for a personal, family, or household purpose."

                                                                                                                             No. Go to line 16b.
                                                                                                                             Yes. Go to line 17.

                                                                                                               16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                                                                                       money for a business or investment or through the operation of the business or investment.

                                                                                                                             No. Go to line 16c.
                                                                                                                             Yes. Go to line 17.

                                                                                                               16c.    State the type of debts you owe that are not consumer debts or business debts: N/A



                                                                               17. Are you filing under               No. I am not filing under Chapter 7. Go to line 18.
                                                                                   Chapter 7?
                                                                                                                      Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
                                                                                                                           administrative expenses are paid that funds will be available to distribute to unsecured creditors?
                                                                                    Do you estimate that
                                                                                    after any exempt                            No.
                                                                                    property is excluded and
                                                                                    administrative expenses                     Yes.
                                                                                    are paid that funds will
                                                                                    be available for
                                                                                    distribution to
                                                                                    unsecured creditors?



                                                                               18. How many creditors do              1-49                                   1,000 - 5,000                         25,001 - 50,000
                                                                                   you estimate that you              50-99                                  5,001 - 10,000                        50,001 - 100,000
                                                                                                                      100-199                                10,001 - 25,000                       More than 100,000
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                                                                                   owe?
                                                                                                                      200-999



                                                                               19. How much do you                    $0 to $50,000                          $1,000,001 to $10 million             $500,000,001 to $1 billion
                                                                                   estimate your assets to            $50,001 to $100,000                    $10,000,001 to $50 million            $1,000,000,001 to $10 billion
                                                                                   be worth?                          $100,001 to $500,000                   $50,000,001, to $100 million          $10,000,000,001 to $50 billion
                                                                                                                      $500,001 to $1 million                 $100,000,001 to $500 million          More than $50 billion



                                                                               20. How much do you                    $0 to $50,000                          $1,000,001 to $10 million             $500,000,001 to $1 billion
                                                                                   estimate your liabilities          $50,001 to $100,000                    $10,000,001 to $50 million            $1,000,000,001 to $10 billion
                                                                                   to be?                             $100,001 to $500,000                   $50,000,001, to $100 million          $10,000,000,001 to $50 billion
                                                                                                                      $500,001 to $1 million                 $100,000,001 to $500 million          More than $50 billion




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                                                                                Part 7:        Sign Below

                                                                               For you                               I have examined this petition, and I declare under penalty of perjury that the information provided is true and
                                                                                                                     correct.

                                                                                                                     If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12, or
                                                                                                                     13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                                                                                                     under Chapter 7.

                                                                                                                     If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill
                                                                                                                     out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                                                                                                     I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                                                                                                     I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                                                                                                     connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or
                                                                                                                     both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                                                     /s/ Jeanne Alvi                                                                           08/20/2022
                                                                                                                     Debtor 1                                                                                  MM/DD/YYYY



                                                                               For your attorney, if you             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
                                                                               are represented by one                eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                                     available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                                                               Note that BkAssist is licensed for    the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
                                                                               use only by attorneys. If you are     knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
                                                                               not represented by an attorney, you
                                                                               may not file this petition.

                                                                                                                     /s/ Jeff Whitehead                                                                        08/20/2022
                                                                                                                     Attorney for Debtor(s)                                                                    MM/DD/YYYY
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                                                                                                                     Jeff Whitehead
                                                                                                                     Printed name

                                                                                                                     Firm name
                                                                                                                     180 North Michigan Avenue
                                                                                                                     Number Street
                                                                                                                     Suite 908

                                                                                                                     Chicago IL 60601
                                                                                                                     City, State, ZIP Code

                                                                                                                     847-858-6802                                                jeffwhitehead_2000@yahoo.com
                                                                                                                     Contact phone                                               Email address
                                                                                                                     6280034
                                                                                                                     Bar number




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                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Jeanne Alvi

                                                                                    Debtor 2
                                                                                    (Spouse, if filing)                                                                                                                                           Check if this is an amended
                                                                                                                                                                                                                                                  filing
                                                                                    United States Bankruptcy Court for the Northern District of Illinois

                                                                                    Case number
                                                                                    (If known)



                                                                               Official Form 106Sum
                                                                               Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                              12/15


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
                                                                               your original forms, you must fill out a new Summary and check the box at the top of this page.


                                                                                Part 1:              Summarize Your Assets

                                                                                                                                                                                                                                                               Your assets
                                                                                                                                                                                                                                                               Value of what
                                                                                                                                                                                                                                                               you own

                                                                               1.    Schedule A/B: Property (Official Form 106A/B)
                                                                                     1a. Copy line 55, Total real estate, from Schedule A/B .........................................................................................                               $595,000.00

                                                                                     1b. Copy line 62, Total personal property, from Schedule A/B ..............................................................................                                     $11,500.00

                                                                                     1c. Copy line 63, Total of all property on Schedule A/B.........................................................................................                               $606,500.00
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                                                                                Part 2:              Summarize Your Liabilities

                                                                                                                                                                                                                                                               Your liabilities
                                                                                                                                                                                                                                                               Amount you owe

                                                                               2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of
                                                                                     Schedule D.............................................................................................................................................................        $535,000.00

                                                                               3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................                                                      $15,000.00

                                                                                     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.......................                                                         $9,665.00

                                                                                                                                                                                                                            Your total liabilities                  $559,665.00


                                                                                Part 3:              Summarize Your Income and Expenses

                                                                               4.    Schedule I: Your Income (Official Form 106I)
                                                                                     Copy your combined monthly income from line 12 of Schedule I ..........................................................................                                          $9,398.00

                                                                               5.    Schedule J: Your Expenses (Official Form 106J)
                                                                                     Copy your monthly expenses from line 22, Column A, of Schedule J. ..................................................................                                             $6,122.68




                                                                               Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                             Page 1
                                                                                               Case 22-09466                       Doc 1           Filed 08/21/22 Entered 08/21/22 13:07:48                                                    Desc Main
                                                                               Debtor 1     Jeanne Alvi                                             Document     Page 10 of 42                                                                                  Case number:




                                                                                Part 4:            Answer These Questions for Administrative and Statistical Records

                                                                               6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?
                                                                                        No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other
                                                                                        schedules.
                                                                                        Yes

                                                                               7.   What kind of debt do you have?
                                                                                       Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
                                                                                       family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9 for statistical purposes. 28 U.S.C. § 159.
                                                                                       Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and
                                                                                       submit this form to the court with your other schedules.

                                                                               8.   From the Statement of Your Current Monthly Income (Official Form 122A-1, 122B, or 122C-1):
                                                                                    Copy your total current monthly income from line 11.............................................................................................                              $8,250.00

                                                                               9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:..................................

                                                                               From Part 4 on Schedule E/F, copy the following:                                                                                                                            Total claim

                                                                                    9a. Domestic support obligations (Copy line 6a.)...................................................................................................                                  $0.00

                                                                                    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)........................................................                                            $15,000.00

                                                                                    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) ..............................................                                                   $0.00

                                                                                    9d. Student loans. (Copy line 6f.)...........................................................................................................................                        $0.00

                                                                                    9e. Obligations arising out of a separation agreement or divorce that you did not report as priority claims.
                                                                                        (Copy line 6g.).................................................................................................................................................                 $0.00

                                                                                    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)............................................                                                   $0.00

                                                                                    9g. Total. Add lines 9a through 9f..........................................................................................................................                 $15,000.00
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                                                                               Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                                                              Page 2
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                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1         Jeanne Alvi

                                                                                    Debtor 2
                                                                                    (Spouse, if filing)                                                                                                           Check if this is an amended
                                                                                                                                                                                                                  filing
                                                                                    United States Bankruptcy Court for the Northern District of Illinois

                                                                                    Case number
                                                                                    (If known)



                                                                               Official Form 106A/B
                                                                               Schedule A/B: Property                                                                                                                                 12/15


                                                                               In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
                                                                               the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
                                                                               equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
                                                                               additional pages, write your name and case number (if known). Answer every question.


                                                                                Part 1:              Describe Each Residence, Building, Land or Other Real Estate You Own or Have an Interest in

                                                                               1.    Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

                                                                                            No. Go to Part 2.
                                                                                            Yes. Where is the property?
                                                                                     1.1 2915 Covert Road                                        What is the property? Check all that apply    Do not deduct secured claims or exemptions.
                                                                                            Street address, if available, or other description      Single-family home                         Put the amount of any secured claims on
                                                                                                                                                    Duplex or multi-unit building              Schedule D: Creditors Who Have Claims
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                                                                                                                                                    Condominium or cooperative                 Secured by Property.
                                                                                                                                                    Manufactured or mobile home
                                                                                            Glenview IL 60025                                       Land                                                                  Current value of
                                                                                                                                                                                                 Current value of
                                                                                            City, State, ZIP Code                                   Investment property                                                   the portion you
                                                                                                                                                                                               the entire property?
                                                                                                                                                    Timeshare                                                                  own?
                                                                                            Cook                                                    Other
                                                                                            County                                                   N/A                                                $595,000.00              $595,000.00
                                                                                                                                                 Who has an interest in the property? Check
                                                                                                                                                     one
                                                                                                                                                     Debtor 1 only                             Describe the nature of your ownership interest
                                                                                                                                                     Debtor 2 only                             (such as fee simple, tenancy by the entireties, or
                                                                                                                                                     Debtor 1 and Debtor 2 only                a life estate), if known.
                                                                                                                                                     At least one of the debtors and another
                                                                                                                                                                                               Fee Simple
                                                                                                                                                 Other information you wish to add about
                                                                                                                                                 this item, such as local property                  Check if this is community property
                                                                                                                                                 identification number:                             (see instructions)

                                                                               2.    Add the dollar value of the portion you own for all of your entries from Part 1, including any
                                                                                                                                                                                                                                $595,000.00
                                                                                     entries for pages you have attached for Part 1. Write that number here. ...........................................


                                                                                Part 2:              Describe Your Vehicles
                                                                               Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any
                                                                               vehicles you own that someone else drives. If you lease a vehicle, also report it onSchedule G: Executory Contracts and Unexpired
                                                                               Leases.


                                                                               3.    Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

                                                                                            No.
                                                                                            Yes.




                                                                               Official Form 106A/B                                                        Schedule A/B: Property                                                         Page 1
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                                                                                    3.1 Make:           Chrysler                                      Who has an interest in the property? Check                          Do not deduct secured claims or exemptions.
                                                                                                                                                      one                                                                 Put the amount of any secured claims on
                                                                                          Model:        Town and Country                                     Debtor 1 only                                                Schedule D: Creditors Who Have Claims
                                                                                                                                                             Debtor 2 only                                                Secured by Property.
                                                                                          Year:         2014                                                 Debtor 1 and Debtor 2 only
                                                                                                                                                             At least one of the debtors and another                                                      Current value of
                                                                                                                                                                                                                             Current value of
                                                                                          Approximate mileage: 125000                                                                                                                                     the portion you
                                                                                                                                                                                                                           the entire property?
                                                                                                                                                             Check if this is community property                                                               own?
                                                                                          Other information:                                                 (see instructions)
                                                                                                                                                                                                                                          $8,500.00               $8,500.00


                                                                               4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
                                                                                    Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

                                                                                          No.
                                                                                          Yes.

                                                                               5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
                                                                                                                                                                                                                                                                 $8,500.00
                                                                                    entries for pages you have attached for Part 2. Write that number here ............................................


                                                                                Part 3:            Describe Your Personal and Household Items
                                                                               Do you own or have any legal or equitable interest in any of the following items? (List the current value of the portion you own. Do not
                                                                               deduct secured claims or exemptions)



                                                                               6.   Household goods and furnishings
                                                                                    Examples: Major appliances, furniture, linens, china, kitchenware

                                                                                          No
                                                                                          Yes (Basic Household Goods and Furnishings $1,000.00, D1) ....................................................                                                           $1,000.00

                                                                               7.   Electronics
                                                                                    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
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                                                                                    collections; electronic devices including cell phones, cameras, media players, games

                                                                                          No
                                                                                          Yes (Television, Home Computer, and Cellular Phone $400.00, D1) ...........................................                                                                $400.00

                                                                               8.   Collectibles of value
                                                                                    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp,
                                                                                    coin, or baseball card collections; other collections, memorabilia, collectibles

                                                                                          No
                                                                                          Yes ......................................................................................................................................................

                                                                               9.   Equipment for sports and hobbies
                                                                                    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                                                                                    and kayaks; carpentry tools; musical instruments

                                                                                          No
                                                                                          Yes ......................................................................................................................................................

                                                                               10. Firearms
                                                                                    Examples: Pistols, rifles, shotguns, ammunition, and related equipment

                                                                                          No
                                                                                          Yes ......................................................................................................................................................

                                                                               11. Clothes
                                                                                    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

                                                                                          No
                                                                                          Yes (Basic Wearing Apparel $1,000.00, D1) ...................................................................................                                            $1,000.00

                                                                               12. Jewelry
                                                                                    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                                                                                    gold, silver




                                                                               Official Form 106A/B                                                                  Schedule A/B: Property                                                                             Page 2
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                                                                                          No
                                                                                          Yes (Costume Jewelry $100.00, D1) ................................................................................................                                       $100.00

                                                                               13. Non-farm animals
                                                                                    Examples: Dogs, cats, birds, horses

                                                                                          No
                                                                                          Yes ......................................................................................................................................................

                                                                               14. Any other personal and household items you did not already list, including any health aids you
                                                                                   did not list

                                                                                          No
                                                                                          Yes ......................................................................................................................................................

                                                                               15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
                                                                                                                                                                                                                                                               $2,500.00
                                                                                   attached for Part 3. Write that number here ...........................................................................................


                                                                                Part 4:            Describe Your Financial Assets
                                                                               Do you own or have any legal or equitable interest in any of the following? (List the current value of the portion you own. Do not deduct
                                                                               secured claims or exemptions)



                                                                               16. Cash
                                                                                    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
                                                                                    petition

                                                                                          No
                                                                                          Yes United States Currency $100.00 (D1)........................................................................................                                          $100.00

                                                                               17. Deposits of money
                                                                                    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage
                                                                                    houses, and other similar institutions. If you have multiple accounts with the same institution, list each.
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                                                                                          No
                                                                                          Yes Checking Account at Bank of America $400.00 (D1) ..............................................................                                                      $400.00

                                                                               18. Bonds, mutual funds, or publicly traded stocks
                                                                                    Examples: Bond funds, investment accounts with brokerage firms, money market accounts

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                 $0.00

                                                                               19. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
                                                                                   including an interest in an LLC, partnership, and joint venture

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                 $0.00

                                                                               20. Government and corporate bonds and other negotiable and non-negotiable instruments
                                                                                    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
                                                                                    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                 $0.00

                                                                               21. Retirement or pension accounts
                                                                                    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing
                                                                                    plans

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                 $0.00

                                                                               22. Security deposits and prepayments
                                                                                    Your share of all unused deposits you have made so that you may continue service or use from a company.
                                                                                    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                                                                                    companies, or others




                                                                               Official Form 106A/B                                                                  Schedule A/B: Property                                                                          Page 3
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                                                                                          No
                                                                                          Yes ......................................................................................................................................................                 $0.00

                                                                               23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                 $0.00

                                                                               24. Interests in an education IRA as defined in 26 U.S.C. § 530(b)(1) or under a qualified state tuition
                                                                                   plan as defined in 26 U.S.C. § 529(b)(1).

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                 $0.00

                                                                               25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights
                                                                                   or powers exercisable for your benefit

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                 $0.00

                                                                               26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
                                                                                   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                 $0.00

                                                                               27. Licenses, franchises, and other general intangibles
                                                                                   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                 $0.00

                                                                               28. Tax refunds owed to you
                                                                                   Give specific information about them, including whether you already filed the returns and the tax years
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                                                                                          No
                                                                                          Yes ......................................................................................................................................................                 $0.00

                                                                               29. Family support
                                                                                   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                                                                                   settlement

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                 $0.00

                                                                               30. Other amounts someone owes you
                                                                                   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                   compensation, Social Security benefits; unpaid loans you made to someone else

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                 $0.00

                                                                               31. Interests in insurance policies
                                                                                   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s
                                                                                   insurance. Name the insurance company of each policy and the beneficiary, and list its value

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                 $0.00

                                                                               32. Any interest in property that is due you from someone who has died
                                                                                   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to
                                                                                   receive property because someone has died.

                                                                                          No
                                                                                          Yes ......................................................................................................................................................                 $0.00

                                                                               33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for
                                                                                   payment
                                                                                   Examples: Accidents, employment disputes, insurance claims, or rights to sue




                                                                               Official Form 106A/B                                                                  Schedule A/B: Property                                                                          Page 4
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                                                                                           No
                                                                                           Yes ......................................................................................................................................................                    $0.00

                                                                               34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor
                                                                                   and rights to set off claims

                                                                                           No
                                                                                           Yes ......................................................................................................................................................                    $0.00

                                                                               35. Any financial assets you did not already list

                                                                                           No
                                                                                           Yes ......................................................................................................................................................                    $0.00

                                                                               36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
                                                                                                                                                                                                                                                                     $500.00
                                                                                   attached for Part 4. Write that number here ...........................................................................................


                                                                                Part 5:             Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

                                                                               37. Do you own or have any legal or equitable interest in any business-related property?
                                                                                       No. Go to part 6.
                                                                                       Yes. Go to line 38.


                                                                                Part 6:             Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                                                                                                    If you own or have an interest in farmland, list it in Part 1.

                                                                               46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related
                                                                                   property?
                                                                                       No. Go to part 7.
                                                                                       Yes. Go to line 47.
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                                                                                Part 7:             Describe All Property You Own or Have an Interest in That You Did Not List Above

                                                                               53. Do you have other property of any kind you did not already list?
                                                                                     Examples: Season tickets, country club membership
                                                                                           No
                                                                                           Yes .....................................................................................................................................................                     $0.00

                                                                               54. Add the dollar value of all of your entries from Part 7, including any entries for pages you have
                                                                                   attached for Part 7. Write that number here ...........................................................................................


                                                                                Part 8:             List the Totals of Each Part of this Form

                                                                               55. Part 1: Total real estate, line 2 .................................................................................................................                          $595,000.00

                                                                               56. Part 2: Total vehicles, line 5.............................................................................                                          $8,500.00

                                                                               57. Part 3: Total personal and household items, line 15 .....................................                                                            $2,500.00

                                                                               58. Part 4: Total financial assets, line 36 ..............................................................                                                  $500.00

                                                                               59. Part 5: Total business-related property, line 45.............................................

                                                                               60. Part 6: Total farm- and fishing-related property, line 52 ...............................

                                                                               61. Part 7: Total other property not listed, line 54 ...............................................

                                                                               62. Total personal property. Add lines 56 through 61....................................................................................                                             $11,500.00

                                                                               63. Total of all property on Schedule A/B. Add line 55 + line 62 ..................................................................                                             $606,500.00




                                                                               Official Form 106A/B                                                                   Schedule A/B: Property                                                                             Page 5
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                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Jeanne Alvi

                                                                                    Debtor 2
                                                                                    (Spouse, if filing)                                                                                                   Check if this is an amended
                                                                                                                                                                                                          filing
                                                                                    United States Bankruptcy Court for the Northern District of Illinois

                                                                                    Case number
                                                                                    (If known)



                                                                               Official Form 106C
                                                                               Schedule C: The Property You Claim as Exempt                                                                                                   04/22


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
                                                                               the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
                                                                               needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name
                                                                               and case number (if known).

                                                                               For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
                                                                               specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
                                                                               any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
                                                                               funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
                                                                               exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
                                                                               to the applicable statutory amount.


                                                                                Part 1:              Identify the Property You Claim as Exempt

                                                                               1.     Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
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                                                                                            You are claiming Illinois Exemptions and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
                                                                                            You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

                                                                               2.     For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
                                                                                                                            Current value of the
                                                                                                                                                     Amount of the exemption you claim
                                                                                     Brief description of the property       portion you own
                                                                                    and line on Schedule A/B that lists                                                                         Specific laws that allow exemption
                                                                                                                                                           Check only one box for each
                                                                                               this property                 Copy the value from
                                                                                                                                                                   exemption
                                                                                                                               Schedule A/B

                                                                                 2915 Covert Road, Glenview, IL (Line                $595,000.00           $15,000.00                          735 ILCS 5/12-901
                                                                                 1)                                                                        100% of fair market value, up to
                                                                                                                                                           any applicable statutory limit

                                                                                 2014 Chrysler Town and Country (Line                   $8,500.00          $2,400.00 + $2,000.00               735 ILCS 5/12-1001(c) and 735 ILCS
                                                                                 3)                                                                        100% of fair market value, up to    5/12-1001(b)
                                                                                                                                                           any applicable statutory limit

                                                                                 Basic Household Goods and                              $1,000.00          $1,000.00                           735 ILCS 5/12-1001(b)
                                                                                 Furnishings (Line 6)                                                      100% of fair market value, up to
                                                                                                                                                           any applicable statutory limit

                                                                                 Television, Home Computer, and                           $400.00          $400.00                             735 ILCS 5/12-1001(b)
                                                                                 Cellular Phone (Line 7)                                                   100% of fair market value, up to
                                                                                                                                                           any applicable statutory limit

                                                                                 Basic Wearing Apparel (Line 11)                        $1,000.00          $1,000.00                           735 ILCS 5/12-1001(a)
                                                                                                                                                           100% of fair market value, up to
                                                                                                                                                           any applicable statutory limit

                                                                                 Costume Jewelry (Line 12)                                $100.00          $100.00                             735 ILCS 5/12-1001(b)
                                                                                                                                                           100% of fair market value, up to
                                                                                                                                                           any applicable statutory limit




                                                                               Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                                  Page 1
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                                                                                                                             Current value of the
                                                                                                                                                       Amount of the exemption you claim
                                                                                     Brief description of the property        portion you own
                                                                                    and line on Schedule A/B that lists                                                                           Specific laws that allow exemption
                                                                                                                                                            Check only one box for each
                                                                                               this property                  Copy the value from
                                                                                                                                                                    exemption
                                                                                                                                Schedule A/B

                                                                                United States Currency (Line 16)                           $100.00          $100.00                               735 ILCS 5/12-1001(b)
                                                                                                                                                            100% of fair market value, up to
                                                                                                                                                            any applicable statutory limit

                                                                                Checking Account at Bank of America                        $400.00          $400.00                               735 ILCS 5/12-1001(b)
                                                                                (Line 17)                                                                   100% of fair market value, up to
                                                                                                                                                            any applicable statutory limit

                                                                                                                    Total              $606,500.00                                 $22,400.00

                                                                               3.     Are you claiming a homestead exemption of more than $189,050.00?
                                                                                      (Subject to adjustment on 04/01/2025 and every 3 years after that for cases filed on or after the date of adjustment.)
                                                                                           No
                                                                                           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                                                                                                No
                                                                                                Yes
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                                                                               Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                               Page 2
                                                                                                       Case 22-09466                 Doc 1            Filed 08/21/22 Entered 08/21/22 13:07:48                                                 Desc Main
                                                                                                                                                       Document     Page 18 of 42

                                                                                     Fill in this information to identify your case:

                                                                                     Debtor 1           Jeanne Alvi

                                                                                     Debtor 2
                                                                                     (Spouse, if filing)                                                                                                                                      Check if this is an amended
                                                                                                                                                                                                                                              filing
                                                                                     United States Bankruptcy Court for the Northern District of Illinois

                                                                                     Case number
                                                                                     (If known)



                                                                               Official Form 106D
                                                                               Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                          12/15


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
                                                                               additional pages, write your name and case number (if known).

                                                                               1.      Do any creditors have claims secured by your property?
                                                                                           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
                                                                                           Yes. Fill in all of the information below.


                                                                                Part 1:                 List All Secured Claims
                                                                               2.      List all secured claims. If a creditor has more than one secured claim, list the creditor separately for each claim. If more than one creditor has a
                                                                                       particular claim, list the other creditors in Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name.

                                                                                                                                                                                                            Column A                    Column B             Column C
                                                                                                                                                                                                          Amount of claim          Value of collateral   Unsecured portion
                                                                                                                                                                                                         Do not deduct the value   that supports this          if any
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                                                                                                                                                                                                             of the collateral           claim

                                                                               2.1                                                         Describe the property that secures the claim:                        $535,000.00             $595,000.00
                                                                               CitiMortgage                                                     2915 Covert Road, Glenview, IL
                                                                               Creditor's Name
                                                                               PO Box 6243                                                 As of the date you file, the claim is: Check all that apply
                                                                               Number Street                                                     Contingent
                                                                                                                                                 Unliquidated
                                                                                                                                                 Disputed
                                                                               Wilmington DE 19850
                                                                               City, State, ZIP Code                                       Nature of lien. Check all that apply
                                                                               Who owes the debt? Check one.                                    An agreement you made (such as
                                                                                   Debtor 1 only                                                mortgage or secured car loan)
                                                                                   Debtor 2 only                                                Statutory lien (such as tax lien, mechanic’s
                                                                                   Debtor 1 and Debtor 2 only                                   lien)
                                                                                   At least one of the debtors and another                      Judgment lien from a lawsuit
                                                                                                                                                Other (including a right to offset)
                                                                                       Check if this claim relates to a community
                                                                                       debt                                                Last 4 digits of account number: -3324

                                                                               Date debt was incurred: 2008

                                                                               Add the dollar value of your entries in Column A. Write that number here: .............................................       $535,000.00


                                                                                Part 2:                 List Others to Be Notified for a Debt That You Already Listed
                                                                                Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a
                                                                                collection agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection
                                                                                agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here.
                                                                                If you do not have additional persons to be notified for any debts in Part 1, do not fill out or submit this page.




                                                                               Official Form 106D                                          Schedule D: Creditors Who Have Claims Secured by Property                                                                    Page 1
                                                                                                 Case 22-09466   Doc 1    Filed 08/21/22 Entered 08/21/22 13:07:48                            Desc Main
                                                                               Debtor 1      Jeanne Alvi                   Document     Page 19 of 42                                                    Case number:



                                                                               1                                                               On which line in Part 1 did you enter the creditor? 2.1
                                                                               Ira T Nevel
                                                                               Creditor's Name                                                 Last 4 digits of account number: UNKNOWN
                                                                               175 North Franklin Street
                                                                               Number Street



                                                                               Chicago IL 60606
                                                                               City, State, ZIP Code



                                                                               2                                                               On which line in Part 1 did you enter the creditor? 2.1
                                                                               CitiMortgage
                                                                               Creditor's Name                                                 Last 4 digits of account number: UNKNOWN
                                                                               PO Box 6243
                                                                               Number Street



                                                                               Wilmington DE 19850
                                                                               City, State, ZIP Code
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                                                                               Official Form 106D                  Schedule D: Creditors Who Have Claims Secured by Property                                   Page 2
                                                                                                       Case 22-09466              Doc 1           Filed 08/21/22 Entered 08/21/22 13:07:48                                           Desc Main
                                                                                                                                                   Document     Page 20 of 42

                                                                                     Fill in this information to identify your case:

                                                                                     Debtor 1             Jeanne Alvi

                                                                                     Debtor 2
                                                                                     (Spouse, if filing)                                                                                                                             Check if this is an amended
                                                                                                                                                                                                                                     filing
                                                                                     United States Bankruptcy Court for the Northern District of Illinois

                                                                                     Case number
                                                                                     (If known)



                                                                               Official Form 106E/F
                                                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                            12/15


                                                                               Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
                                                                               List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
                                                                               A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
                                                                               creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
                                                                               needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the
                                                                               top of any additional pages, write your name and case number (if known).


                                                                                Part 1:                   List All of Your PRIORITY Unsecured Claims
                                                                               1.      Do any creditors have priority unsecured claims against you?
                                                                                           No. Go to Part 2.
                                                                                           Yes.

                                                                               2.      List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
                                                                                       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
                                                                                       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
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                                                                                       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3. (For an explanation of each type of claim, see the instructions for this form in
                                                                                       the instruction booklet.)

                                                                                                                                                                                                     Total claim         Priority amount         Nonpriority amount

                                                                               2.1                                                     Last 4 digits of account number:                                 $15,000.00              $15,000.00                        $0.00
                                                                               Internal Revenue Service
                                                                               Priority Creditor's Name                                When was the debt incurred: UNKNOWN
                                                                               PO Box 7346
                                                                               Number Street                                           As of the date you file, the claim is: Check all that apply
                                                                                                                                             Contingent
                                                                                                                                             Unliquidated
                                                                               Philadelphia PA 19101                                         Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                       Type of PRIORITY unsecured claim:
                                                                                     Debtor 1 only                                          Domestic support obligations
                                                                                     Debtor 2 only                                          Taxes and certain other debts you owe
                                                                                     Debtor 1 and Debtor 2 only                             the government
                                                                                     At least one of the debtors and another                Claims for death or personal injury while
                                                                                     Check if this claim is for a community debt            you were intoxicated
                                                                               Is the claim subject to offset?                              Other. Specify
                                                                                     No
                                                                                     Yes



                                                                                Part 2:                   List All of Your NONPRIORITY Unsecured Claims
                                                                               3.      Do any creditors have nonpriority unsecured claims against you?
                                                                                           No. You have nothing to report in this part. Submit this form to the court with your other schedules.
                                                                                           Yes.

                                                                               4.      List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
                                                                                       priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims
                                                                                       already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority
                                                                                       unsecured claims fill out the Continuation Page of Part 2.

                                                                                                                                                                                                                                                      Total claim




                                                                               Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                                    Page 1
                                                                                                       Case 22-09466                     Doc 1            Filed 08/21/22 Entered 08/21/22 13:07:48                                                Desc Main
                                                                               Debtor 1         Jeanne Alvi                                                Document     Page 21 of 42                                                                              Case number:



                                                                               4.1                                                                                       Last 4 digits of account number: None                                                           $9,665.00
                                                                               Parsram Property Mgmt
                                                                               Nonpriority Creditor's Name                                                               When was the debt incurred: UNKNOWN
                                                                               2450 West Devon Ave
                                                                               Number Street                                                                             As of the date you file, the claim is: Check all that apply
                                                                               # 2b                                                                                            Contingent
                                                                                                                                                                               Unliquidated
                                                                                60659                                                                                          Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                                         Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                                            Student loans
                                                                                     Debtor 2 only                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                                               you did not report as priority claims
                                                                                     At least one of the debtors and another                                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                                              Other. Specify Rent
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes



                                                                                Part 3:                  List Others to Be Notified for a Debt That You Already Listed
                                                                               5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
                                                                                      example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2,
                                                                                      then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list
                                                                                      the additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit
                                                                                      this page.

                                                                               1                                                                                                        On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Gregory Law Offices                                                                                      Line 4.1 of (Check one):              Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               1410 Higgins Road
                                                                               Number Street                                                                                            Last 4 digits of account number: UNKNOWN
                                                                               Suite 204

                                                                               Park Ridge IL 60068
                                                                               City, State, ZIP Code



                                                                               2                                                                                                        On which entry in Part 1 or Part 2 did you list the original creditor?
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                                                                               Parasram                                                                                                 Line 4.1 of (Check one):              Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               6321 West Dempster
                                                                               Number Street                                                                                            Last 4 digits of account number: UNKNOWN
                                                                               Unit 224

                                                                               Morton Grove IL 60053
                                                                               City, State, ZIP Code



                                                                               3                                                                                                        On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               United States Attorney                                                                                   Line 2.1 of (Check one):              Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               219 South Dearborn Street
                                                                               Number Street                                                                                            Last 4 digits of account number: UNKNOWN


                                                                               Chicago IL 60604
                                                                               City, State, ZIP Code




                                                                                Part 4:                  Add the Amounts for Each Type of Unsecured Claim
                                                                               6.     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
                                                                                      Add the amounts for each type of unsecured claim.

                                                                                                                                                                                                                                                     Total claim

                                                                               Total
                                                                               claims from
                                                                               Part 1                  6a. Domestic support obligations .................................................................................................   6a.                  $0.00

                                                                                                       6b. Taxes and certain other debts you owe the government .....................................................                       6b.           $15,000.00

                                                                                                       6c. Claims for death or personal injury while you were intoxicated..........................................                         6c.                  $0.00




                                                                               Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                                       Page 2
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                                                                               Debtor 1   Jeanne Alvi                                                  Document     Page 22 of 42                                                                                     Case number:



                                                                                                                                                                                                                                                        Total claim

                                                                                             6d. Other. Add all other priority unsecured claims. Write that amount here.....................................                                     6d.             $0.00

                                                                                             6e. Total Add lines 6a through 6d. ...................................................................................................              6e.        $15,000.00

                                                                               Total
                                                                               claims from
                                                                               Part 2        6f. Student loans .............................................................................................................................     6f.             $0.00

                                                                                             6g. Obligations arising out of a separation agreement or divorce that you did not report as
                                                                                             priority claims .................................................................................................................................   6g.             $0.00

                                                                                             6h. Debts to pension or profit-sharing plans, and other similar debts......................................                                         6h.             $0.00

                                                                                             6i. Other. Add all other nonpriority unsecured claims. Write that amount here................................                                       6i.         $9,665.00

                                                                                             6j. Total. Add lines 6f through 6i. .....................................................................................................           6j.         $9,665.00
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                                                                               Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                                            Page 3
                                                                                                 Case 22-09466           Doc 1        Filed 08/21/22 Entered 08/21/22 13:07:48                               Desc Main
                                                                                                                                       Document     Page 23 of 42

                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Jeanne Alvi

                                                                                    Debtor 2
                                                                                    (Spouse, if filing)                                                                                                      Check if this is an amended
                                                                                                                                                                                                             filing
                                                                                    United States Bankruptcy Court for the Northern District of Illinois

                                                                                    Case number
                                                                                    (If known)



                                                                               Official Form 106G
                                                                               Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
                                                                               additional pages, write your name and case number (if known).

                                                                               1.    Do you have any executory contracts or unexpired leases?
                                                                                         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
                                                                                         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
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                                                                               Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                               Page 1
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                                                                                                                                      Document     Page 24 of 42

                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Jeanne Alvi

                                                                                    Debtor 2
                                                                                    (Spouse, if filing)                                                                                                 Check if this is an amended
                                                                                                                                                                                                        filing
                                                                                    United States Bankruptcy Court for the Northern District of Illinois

                                                                                    Case number
                                                                                    (If known)



                                                                               Official Form 106H
                                                                               Schedule H: Your Codebtors                                                                                                                 12/15


                                                                               Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
                                                                               people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
                                                                               fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages,
                                                                               write your name and case number (if known). Answer every question.

                                                                               1.    Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
                                                                                         No
                                                                                         Yes

                                                                               2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and
                                                                                     territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
                                                                                           No. Go to line 3.
                                                                                           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                                                                                                No
                                                                                                Yes. In which community state or territory did you live? . Fill in the name and current address of that person.
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                                                                               3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List
                                                                                     the person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed
                                                                                     the creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form
                                                                                     106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

                                                                               Column 1: Your codebtor                                                                     Column 2: The creditor to whom you owe the debt

                                                                                                                                                                           Check all schedules that apply

                                                                               3.1                                                                                             Schedule D, line 2.1
                                                                                     Shafi Alvi                                                                                Schedule E/F, line
                                                                                     Name                                                                                      Schedule G, line
                                                                                     2915 Covert Road
                                                                                     Number Street



                                                                                     Glenview IL 60025
                                                                                     City, State, ZIP Code



                                                                               3.2                                                                                             Schedule D, line
                                                                                     Shafi Alvi                                                                                Schedule E/F, line 2.1
                                                                                     Name                                                                                      Schedule G, line
                                                                                     2915 Covert Road
                                                                                     Number Street



                                                                                     Glenview IL 60025
                                                                                     City, State, ZIP Code




                                                                               Official Form 106H                                             Schedule H: Your Codebtors                                                      Page 1
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                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Jeanne Alvi
                                                                                                                                                                                          Check if this is:
                                                                                    Debtor 2
                                                                                                                                                                                              An amended filing
                                                                                    (Spouse, if filing)
                                                                                                                                                                                              A supplement showing
                                                                                                                                                                                              post-petition chapter 13
                                                                                    United States Bankruptcy Court for the Northern District of Illinois
                                                                                                                                                                                              income as of
                                                                                    Case number
                                                                                    (If known)



                                                                               Official Form 106I
                                                                               Schedule I: Your Income                                                                                                            12/15


                                                                               Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                               supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
                                                                               spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
                                                                               attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                                Part 1:              Describe Employment
                                                                               1.    Fill in your employment                                               Debtor 1                    Debtor 2 or non-filing spouse
                                                                                     information                          Employment status                  Employed                    Employed
                                                                                                                                                             Not employed                Not employed
                                                                                     If you have more than one job,
                                                                                     attach a separate page with          Occupation
                                                                                     information about additional         Employer's name                  N/A                         N/A
                                                                                     employers.                           Employer's address               N/A                         N/A
                                                                                     Include part-time, seasonal, or      How long employed there?         N/A                         N/A
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                                                                                     self-employed work.

                                                                                     Occupation may include student or
                                                                                     homemaker, if it applies.


                                                                                Part 2:              Give Details About Monthly Income

                                                                               Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space.
                                                                               Including your non-filing spouse unless you are separated.

                                                                               If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                               below. If you need more space, attach a separate sheet to this form.


                                                                                                                                                                                                         For Debtor 2
                                                                                                                                                                                                              or
                                                                                                                                                                                      For Debtor 1
                                                                                                                                                                                                          non-filing
                                                                                                                                                                                                           spouse
                                                                               2.    List monthly gross wages, salary, and commissions before all payroll deductions).           2.            $0.00               $0.00
                                                                                     If not paid monthly, calculate what the monthly wage would be.

                                                                               3.    Estimate and list monthly overtime pay.                                                     3.            $0.00               $0.00
                                                                               4.    Calculate gross income. Add line 2 + line 3.                                                4.            $0.00               $0.00
                                                                               5.    List All payroll deductions:

                                                                                     5a. Tax, Medicare, and Social Security deductions                                          5a.            $0.00               $0.00
                                                                                     5b. Mandatory contributions for retirement plans                                           5b.            $0.00               $0.00




                                                                               Official Form 106I                                               Schedule I: Your Income                                                Page 1
                                                                                               Case 22-09466            Doc 1        Filed 08/21/22 Entered 08/21/22 13:07:48                       Desc Main
                                                                               Debtor 1    Jeanne Alvi                                Document     Page 26 of 42                                               Case number:



                                                                                                                                                                                                            For Debtor 2
                                                                                                                                                                                           For Debtor 1     or non-filing
                                                                                                                                                                                                              spouse
                                                                                    5c. Voluntary contributions for retirement plans                                                 5c.            $0.00           $0.00
                                                                                    5d. Required repayments of retirement fund loans                                                 5d.            $0.00           $0.00
                                                                                    5e. Insurance                                                                                    5e.            $0.00           $0.00
                                                                                    5f.   Domestic support obligations                                                               5f.            $0.00           $0.00
                                                                                    5g. Union dues                                                                                   5g.            $0.00           $0.00
                                                                                    5h. Other deductions. Specify:                                                                   5h.            $0.00           $0.00
                                                                               6.   Add the payroll deductions. Add lines 5a through 5h                                               6.            $0.00           $0.00
                                                                               7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                               7.            $0.00           $0.00
                                                                               8.   List all other income regularly received:

                                                                                    8a. Net income from rental property and from operating a business, profession,                   8a.     $8,250.00              $0.00
                                                                                        or farm

                                                                                          Attach a statement for each property and business showing gross receipts,
                                                                                          ordinary and necessary business expenses, and the total monthly net income.

                                                                                    8b. Interest and dividends                                                                       8b.            $0.00           $0.00
                                                                                    8c. Family support payments that you, a non-filing spouse, or a dependent                        8c.            $0.00           $0.00
                                                                                        regularly receive

                                                                                          Include alimony, spousal support, child support, maintenance, divorce settlement,
                                                                                          and property settlement.
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                                                                                    8d. Unemployment compensation                                                                    8d.            $0.00           $0.00
                                                                                    8e. Social Security                                                                              8e.            $0.00           $0.00
                                                                                    8f.   Other government assistance that you regularly receive                                     8f.            $0.00      $1,148.00
                                                                                          Include cash assistance and the value (if known) of any non-cash assistance that
                                                                                          you receive, such as food stamps (benefits under the Supplemental Nutrition
                                                                                          Assistance Program) or housing subsidies. Specify: Social Security Benefits
                                                                                          D2 $1,148.00
                                                                                    8g. Pension or retirement income                                                                 8g.            $0.00           $0.00
                                                                                    8h. Other monthly income. Specify:                                                               8h.            $0.00           $0.00
                                                                               9.   Add all other income. Add lines 8a-8h.                                                            9.     $8,250.00         $1,148.00
                                                                               10. Calculate monthly income. Add line 7 + line 9.                                                             10.      $9,398.00
                                                                                   Add the entries in line 9 for Debtor 1 and Debtor 2 or non-filing spouse.

                                                                               11. State all other regular contributions to the expenses that you list in Schedule J                          11.           $0.00
                                                                                   (Official Form 106J).

                                                                                    Include contributions from an unmarried partner, members of your household, your
                                                                                    dependents, your roommates, and other friends or relatives.

                                                                                    Do not include any amounts already included in lines 2-10 or amounts that are not available to
                                                                                    pay expenses listed in Schedule J (Official Form 106J).

                                                                                    Specify:

                                                                               12. Add the amounts on lines 10 and 11. The result is the combined monthly income. Also                        12.
                                                                                   write that amount on the Summary of Your Assets and Liabilities and Certain Statistical                             $9,398.00
                                                                                   Information (Official Form 106Sum) if it applies.




                                                                               Official Form 106I                                              Schedule I: Your Income                                                Page 2
                                                                                              Case 22-09466          Doc 1      Filed 08/21/22 Entered 08/21/22 13:07:48    Desc Main
                                                                               Debtor 1    Jeanne Alvi                           Document     Page 27 of 42                            Case number:



                                                                               13. Do you expect an increase or decrease within the year after you file this form?

                                                                                                         The Debtor has mover her business to a new location. Since the move, the business
                                                                                          No
                                                                                          Yes.
                                                                                                         has much better foot traffic and sales.
                                                                                          Explain.....
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                                                                               Official Form 106I                                         Schedule I: Your Income                            Page 3
                                                                                               Case 22-09466           Doc 1       Filed 08/21/22 Entered 08/21/22 13:07:48        Desc Main
                                                                                                                                    Document     Page 28 of 42

                                                                                  Fill in this information to identify your case:

                                                                                  Debtor 1        Jeanne Alvi

                                                                                  Debtor 2
                                                                                  (Spouse, if filing)                                                                              Check if this is an amended
                                                                                                                                                                                   filing
                                                                                  United States Bankruptcy Court for the Northern District of Illinois

                                                                                  Case number
                                                                                  (If known)



                                                                               Form 106ISupp
                                                                               BKA-106ISupp                                                                                                          12/15


                                                                               Itemize the income and expenses from business activities and real estate


                                                                                Part 1:            Business income & expense

                                                                               Fashion Corner (Sole proprietorship):


                                                                                                                Description                                       Amount

                                                                                     Net Income from Operations                                                            $2,150.00

                                                                                                                                     Net Income                            $2,150.00
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                                                                               Deck the Neck (Sole proprietorship):


                                                                                                                Description                                       Amount

                                                                                     Income from Operations                                                                $6,100.00

                                                                                                                                     Net Income                            $6,100.00



                                                                                Part 2:            Non-residential real property income & expense

                                                                               There is no real property income or expense to report.




                                                                               Form 106ISupp                                                       BKA-106ISupp                                          Page 1
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                                                                                     Fill in this information to identify your case:

                                                                                     Debtor 1        Jeanne Alvi
                                                                                                                                                                                                      Check if this is:
                                                                                     Debtor 2
                                                                                                                                                                                                          An amended filing
                                                                                     (Spouse, if filing)
                                                                                                                                                                                                          A supplement showing
                                                                                                                                                                                                          post-petition chapter 13
                                                                                     United States Bankruptcy Court for the Northern District of Illinois
                                                                                                                                                                                                          expenses as of
                                                                                     Case number
                                                                                     (If known)



                                                                               Official Form 106J
                                                                               Schedule J: Your Expenses                                                                                                                     12/15


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
                                                                               number (if known). Answer every question.


                                                                                Part 1:               Describe Your Household
                                                                                1.      Is this a joint case?

                                                                                              No. Go to line 2.
                                                                                              Yes. Does Debtor 2 live in a separate household?

                                                                                                     No.
                                                                                                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2

                                                                               2.     Do you have dependents?                                            Dependent's                Dependent's age            Does dependent live
                                                                                                                                  No                     relationship to Debtor                                with you?
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                                                                                      Do not list Debtor 1 or Debtor 2.           Yes. Fill out this     1 or Debtor 2
                                                                                                                                  information for
                                                                                      Do not state the dependents'                each dependent
                                                                                      names.

                                                                               3.     Do your expenses include expenses of people other than yourself and your                        No
                                                                                      dependents?                                                                                     Yes


                                                                                Part 2:               Estimate Your Ongoing Monthly Expenses
                                                                               Estimate your expenses as your bankruptcy filing date unless you are using this form as supplement in a Chapter 13 case to report
                                                                               expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in
                                                                               the applicable date

                                                                               Include expenses paid for with non-cash governmental assistance if you know the value of such assistance and have included it on
                                                                               Schedule I: Your Income(Official Form 106I).


                                                                                Note: Expenses for property other than the debtor(s)' primary residence(s), if any, are reported in the Summary of Business/Real-Estate Income &
                                                                                Expense annexed to Schedule I.

                                                                                Note: Monthly payments that are being made through the Chapter 13 Plan, if any, are not included in the expenses listed on this schedule.

                                                                                                                                                                                                                Your
                                                                                                                                                                                                              expenses
                                                                               4.     The rental or home ownership expenses for your residence. Include first                                          4.       $3,162.68
                                                                                      mortgage payments and any rent for the ground or lot.

                                                                                      If not included in line 4:

                                                                                      4a. Real estate taxes                                                                                           4a.

                                                                                      4b. Property, homeowner's, or renter's insurance                                                                4b.




                                                                               Official Form 106J                                                  Schedule J: Your Expenses                                                     Page 1
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                                                                                                                                                                                         Your
                                                                                                                                                                                       expenses
                                                                                    4c. Home maintenance, repair, and upkeep expenses                                           4c.       $100.00
                                                                                    4d. Homeowner's association or condominium dues                                             4d.

                                                                               5.   Additional mortgage payments for your residence, such as home equity loans                   5.

                                                                               6.   Utilities:

                                                                                    6a. Electricity, heat, natural gas                                                          6a.       $270.00
                                                                                    6b. Water, sewer, garbage collection                                                        6b.        $40.00
                                                                                    6c. Telephone, cell phone, Internet, satellite, and cable services                          6c.       $215.00
                                                                                    6d. Other. Specify: N/A                                                                     6d.

                                                                               7.   Food and housekeeping supplies                                                               7.       $800.00
                                                                               8.   Childcare and children’s education costs                                                     8.

                                                                               9.   Clothing, laundry, and dry cleaning                                                          9.       $150.00
                                                                               10. Personal care products and services                                                          10.       $150.00
                                                                               11. Medical and dental expenses                                                                  11.       $110.00
                                                                               12. Transportation. Include gas, maintenance, bus or train fare.                                 12.       $500.00
                                                                                   Do not include car payments.

                                                                               13. Entertainment, clubs, recreation, newspapers, magazine, and books                            13.        $10.00
                                                                               14. Charitable contributions and religious donations                                             14.        $10.00
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                                                                               15. Insurance.
                                                                                   Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                    15a. Life insurance                                                                        15a.

                                                                                    15b. Health insurance                                                                      15b.

                                                                                    15c. Vehicle insurance                                                                     15c.       $105.00
                                                                                    15d. Other insurance. Specify: N/A                                                         15d.

                                                                               16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20. Specify:    16.

                                                                                          Estimated Income Taxes                                                                          $500.00
                                                                               17. Installment or lease payments

                                                                                          (None)                                                                                17.         $0.00
                                                                               18. Your payments of alimony, maintenance, and support that you did not report as                18.
                                                                                   deducted from your pay on line 5, Schedule I (Official Form 106I)

                                                                               19. Other payments you make to support others who do not live with you.                          19.
                                                                                   Specify: N/A

                                                                               20. Other real property expenses not included in lines 4 or 5 of this form or on
                                                                                   Schedule I (Official Form 106I)

                                                                                    20a. Mortgages on other property                                                           20a.

                                                                                    20b. Real estate taxes                                                                     20b.

                                                                                    20c. Property, homeowner's, or renter's insurance                                          20c.

                                                                                    20d. Maintenance, repair, and upkeep expenses                                              20d.




                                                                               Official Form 106J                                           Schedule J: Your Expenses                                   Page 2
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                                                                                                                                                                                                           Your
                                                                                                                                                                                                         expenses
                                                                                   20e. Homeowner's association or condominium dues                                                             20e.

                                                                                   20f. Other. Specify:                                                                                         20f.

                                                                               21. Other. Specify: N/A                                                                                           21.

                                                                               22. Calculate your monthly expenses.

                                                                                   22a. Add lines 4 through 21.                                                                                 22a.       $6,122.68
                                                                                   22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                         22b.

                                                                                   22c. Add line 22a and 22b. The result is your monthly expenses.                                              22c.       $6,122.68


                                                                               23. Calculate your monthly net income

                                                                                   23a. Copy line 12 (your combined monthly income) from Schedule I                                             23a.       $9,398.00
                                                                                   23b. Copy your monthly expenses from line 22 above.                                                          23b.       $6,122.68
                                                                                   23c. Subtract your monthly expenses from your monthly income.                                                23c.       $3,275.32
                                                                                        The result is your monthly net income

                                                                               24. Do you expect an increase or decrease in your expenses within the year after you file this form?

                                                                                   For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease
                                                                                   because of a modification to the terms of your mortgage?


                                                                                          No
                                                                                          Yes.
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                                                                                          Explain.....




                                                                               Official Form 106J                                          Schedule J: Your Expenses                                                         Page 3
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                                                                                  Fill in this information to identify your case:

                                                                                  Debtor 1        Jeanne Alvi

                                                                                  Debtor 2
                                                                                  (Spouse, if filing)                                                                                                              Check if this is an amended
                                                                                                                                                                                                                   filing
                                                                                  United States Bankruptcy Court for the Northern District of Illinois

                                                                                  Case number
                                                                                  (If known)



                                                                               Official Form 106Dec
                                                                               Declaration About an Individual Debtor’s Schedules                                                                                                    12/15


                                                                               If two married people are filing together, both are equally responsible for supplying correct information.

                                                                               You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
                                                                               obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
                                                                               years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                                                                   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                                                                                          No
                                                                                          Yes. Name of person N/A. Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).

                                                                                   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they
                                                                                   are true and correct.
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                                                                                   /s/ Jeanne Alvi                                                                                                  08/20/2022
                                                                                   Signature of Debtor 1                                                                                            Date

                                                                                                                                                                                                    08/20/2022
                                                                                   Signature of Debtor 2                                                                                            Date




                                                                               Official Form 106Dec                                 Declaration About an Individual Debtor’s Schedules                                                   Page 1
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                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Jeanne Alvi

                                                                                    Debtor 2
                                                                                    (Spouse, if filing)                                                                                                        Check if this is an amended
                                                                                                                                                                                                               filing
                                                                                    United States Bankruptcy Court for the Northern District of Illinois

                                                                                    Case number
                                                                                    (If known)



                                                                               Official Form 107
                                                                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                              04/22


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
                                                                               number (if known). Answer every question.


                                                                                Part 1:              Give Details About Your Marital Status and Where You Lived Before

                                                                               1.    What is your current marital status?
                                                                                        Married
                                                                                        Not married


                                                                               2.    During the last 3 years, have you lived anywhere other than where you live now?
                                                                                         No
                                                                                         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
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                                                                               3.    Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
                                                                                     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                     Texas, Washington, and Wisconsin.)
                                                                                         No
                                                                                         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).



                                                                                Part 2:              Explain the Sources of Your Income

                                                                               4.    Did you have any income from employment or from operating a business during this year or the two previous calendar
                                                                                     years?
                                                                                     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities. If you are filing a
                                                                                     joint case and you have income that you receive together, list it only once under Debtor 1.
                                                                                           No
                                                                                           Yes. Fill in the details.


                                                                                                                         Debtor 1                                                 Debtor 2

                                                                                                                         Sources of income            Gross income                Sources of income             Gross income
                                                                                                                         Check all that apply         (before deductions and      Check all that apply          (before deductions and
                                                                                                                                                      exclusions)                                               exclusions)

                                                                                     From January 1 of current                 Wages, commissions,                                      Wages, commissions,
                                                                                                                               bonuses, tips                                            bonuses, tips
                                                                                     year until the date you                   Operating a business                                     Operating a business
                                                                                     filed for bankruptcy:                                                         $68,000.00

                                                                                     For last calendar year:                   Wages, commissions,                                      Wages, commissions,
                                                                                     (January 1 to December 31, 2021)          bonuses, tips                                            bonuses, tips
                                                                                                                               Operating a business                $27,644.00           Operating a business

                                                                                     For the calendar year                     Wages, commissions,                                      Wages, commissions,
                                                                                                                               bonuses, tips                                            bonuses, tips
                                                                                     before that:                              Operating a business                                     Operating a business
                                                                                     (January 1 to December 31, 2020)                                              $32,500.00



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                                                                               5.   Did you receive any other income during this year or the two previous calendar years?
                                                                                    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social
                                                                                    Security, unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from
                                                                                    lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you have income that you received
                                                                                    together, list it only once under Debtor 1.

                                                                                    List each source and the gross income from each source separately. Do not include income that you listed in line 4.
                                                                                         No
                                                                                         Yes. Fill in the details.



                                                                                Part 3:        List Certain Payments You Made Before You Filed for Bankruptcy

                                                                               6.   Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

                                                                                          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                                                                                              "incurred by an individual primarily for a personal, family, or household purpose."

                                                                                              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575.00* or more?

                                                                                                   No. Go to line 7.

                                                                                                   Yes. List below each creditor to whom you paid a total of $7,575.00* or more in one or more payments and the total
                                                                                                       amount you paid that creditor. Do not include payments for domestic support obligations, such as child support
                                                                                                       and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                                                                                              * Subject to adjustment on 04/01/2025 and every 3 years after that for cases filed on or after the date of adjustment.

                                                                                          Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                                                                                              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                                                                                                   No. Go to line 7.
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                                                                                                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor.
                                                                                                       Do not include payments for domestic support obligations, such as child support and alimony. Also, do not
                                                                                                       include payments to an attorney for this bankruptcy case.

                                                                               7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
                                                                                    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general
                                                                                    partner; corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting
                                                                                    securities; and any managing agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include
                                                                                    payments for domestic support obligations, such as child support and alimony.
                                                                                         No
                                                                                         Yes. List all payments to an insider


                                                                               8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt
                                                                                    that benefited an insider?
                                                                                    Include payments on debts guaranteed or cosigned by an insider.
                                                                                         No
                                                                                         Yes. List all payments that benefited an insider.



                                                                                Part 4:        Identify Legal Actions, Repossessions, and Foreclosures

                                                                               9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative
                                                                                    proceeding?
                                                                                    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support
                                                                                    or custody modifications, and contract disputes.
                                                                                         No
                                                                                         Yes. Fill in the details


                                                                                     Case title                        Nature of the case                   Court or agency                    Status of the case




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                                                                                     US Bank vs. Alvi, No. 14 CH     Mortgage Foreclosure                 Cook County Circuit Court          Judgment Entered
                                                                                     14623                                                                50 West Washington Street
                                                                                                                                                          Chicago, IL 60602

                                                                                     Parsram Property Mgmt,          Breach of Contract                   Cook County Circuit Court          Pending
                                                                                     No. 2021 M1 111868                                                   50 West Washington Street
                                                                                                                                                          Chicago, IL 60602

                                                                               10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
                                                                                   seized, or levied?
                                                                                   Check all that apply and fill in the details below.
                                                                                       No. Go to line 11.
                                                                                       Yes. Fill in the information below.


                                                                               11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off
                                                                                   any amounts from your accounts or refuse to make a payment because you owed a debt?
                                                                                       No
                                                                                       Yes. Fill in the details


                                                                               12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit
                                                                                   of creditors, a court-appointed receiver, a custodian, or another official?
                                                                                        No
                                                                                        Yes



                                                                                Part 5:        List Certain Gifts and Contributions

                                                                               13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
                                                                                       No
                                                                                       Yes. Fill in the details for each gift.
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                                                                               14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than
                                                                                   $600 to any charity?
                                                                                       No
                                                                                       Yes. Fill in the details of each gift or contribution



                                                                                Part 6:        List Certain Losses

                                                                               15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft,
                                                                                   fire, other disaster, or gambling?
                                                                                         No
                                                                                         Yes. Fill in the details



                                                                                Part 7:        List Certain Payments or Transfers

                                                                               16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any
                                                                                   property to anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
                                                                                   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
                                                                                        No
                                                                                        Yes. Fill in the details


                                                                                     Person who was paid                            Description and value of any property               Date payment   Amount of payment
                                                                                                                                    transferred                                         or transfer
                                                                                                                                                                                        was made




                                                                               Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                            Page 3
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                                                                                     Dollar Learning Foundation                     Fee for § 109(h)(1) briefing by approved                 08/18/2022           $18.99
                                                                                     21550 Oxnard Street                            nonprofit budget and credit counseling
                                                                                     Woodland Hills, CA 91367                       agency

                                                                                     Email or website address:

                                                                                     Person Who Made the Payment if Not
                                                                                     You:

                                                                               17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any
                                                                                   property to anyone who promised to help you deal with your creditors or to make payments to your creditors?
                                                                                   Do not include any payment or transfer that you listed on line 16.
                                                                                       No
                                                                                       Yes. Fill in the details.


                                                                               18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other
                                                                                   than property transferred in the ordinary course of your business or financial affairs?
                                                                                   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your
                                                                                   property). Do not include gifts and transfers that you have already listed on this statement.
                                                                                        No
                                                                                        Yes. Fill in the details


                                                                               19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of
                                                                                   which you are a beneficiary? (These are often called asset-protection devices.)
                                                                                       No
                                                                                       Yes. Fill in the details



                                                                                Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

                                                                               20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
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                                                                                   benefit, closed, sold, moved, or transferred?
                                                                                   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
                                                                                   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
                                                                                        No
                                                                                        Yes. Fill in the details


                                                                               21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
                                                                                   for securities, cash, or other valuables?
                                                                                        No
                                                                                        Yes. Fill in the details.


                                                                               22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
                                                                                      No
                                                                                      Yes. Fill in the details.



                                                                                Part 9:         Identify Property You Hold or Control for Someone Else

                                                                               23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or
                                                                                   hold in trust for someone.
                                                                                       No
                                                                                       Yes. Fill in the details.



                                                                                Part 10:        Give Details About Environmental Information
                                                                               For the purpose of Part 10, the following definitions apply:

                                                                                    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
                                                                                    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including
                                                                                    statutes or regulations controlling the cleanup of these substances, wastes, or material.



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                                                                                    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it
                                                                                    or used to own, operate, or utilize it, including disposal sites.
                                                                                    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
                                                                                    hazardous material, pollutant, contaminant, or similar term.

                                                                               Report all notices, releases, and proceedings that you know about, regardless of when they occurred.


                                                                               24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an
                                                                                   environmental law?
                                                                                       No
                                                                                       Yes. Fill in the details


                                                                               25. Have you notified any governmental unit of any release of hazardous material?
                                                                                      No
                                                                                      Yes. Fill in the details


                                                                               26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements
                                                                                   and orders.
                                                                                       No
                                                                                       Yes. Fill in the details



                                                                                Part 11:        Give Details About Your Business or Connections to Any Business

                                                                               27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
                                                                                   business?
                                                                                           A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                                                                                           A member of a limited liability company (LLC) or limited liability partnership (LLP)
                                                                                           A partner in a partnership
                                                                                           An officer, director, or managing executive of a corporation
                                                                                           An owner of at least 5% of the voting or equity securities of a corporation
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                                                                                          No. None of the above applies. Go to Part 12.
                                                                                          Yes. Check all that apply above and fill in the details below for each business.

                                                                                     Business name and address                     Describe the nature of the business                Employer identification number
                                                                                                                                   and identify the accountant or                     (Do not include SSN or ITIN)
                                                                                                                                   bookkeeper                                         Dates business existed

                                                                                     Fashion Corner                                Importer                                           (Same as SSN/ITIN)
                                                                                     6832 Oakton Street
                                                                                     Morton Grove, IL 60053                        Wineberg Barton Company                            2017 to Present
                                                                                                                                   1609 Sherman Avenue
                                                                                                                                   Evanston, IL 60201

                                                                                     Deck the Neck                                 Single Asset Real Estate                           (Same as SSN/ITIN)
                                                                                     PO Box 372
                                                                                     Glenview, IL 60025                            Wineberg Barton Company                            2018 to Present
                                                                                                                                   1609 Sherman Avenue
                                                                                                                                   Evanston, IL 60201

                                                                               28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business?
                                                                                   Include all financial institutions, creditors, or other parties.
                                                                                       No
                                                                                       Yes. Fill in the details below.



                                                                                Part 12:        Sign Below
                                                                               I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
                                                                               answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by
                                                                               fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18
                                                                               U.S.C. §§ 152, 1341, 1519, and 3571.




                                                                               Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                               Page 5
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                                                                               Debtor 1   Jeanne Alvi                             Document     Page 38 of 42                                                  Case number:



                                                                                    /s/ Jeanne Alvi                                                                                           08/20/2022
                                                                                    Signature of Debtor 1                                                                                     Date

                                                                                                                                                                                              08/20/2022
                                                                                    Signature of Debtor 2                                                                                     Date


                                                                                    Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
                                                                                             No
                                                                                             Yes

                                                                                    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
                                                                                             No
                                                                                             Yes. Name of person N/A -- the BkAssist software used to prepare this petition is licensed for use only by
                                                                                             attorneys.
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                                                                               Official Form 107                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                         Page 6
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                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Jeanne Alvi
                                                                                                                                                                                                Check if this is:
                                                                                    Debtor 2
                                                                                                                                                                                                    An amended filing
                                                                                    (Spouse, if filing)
                                                                                                                                                                                                    A supplement disclosing
                                                                                                                                                                                                    additional payments or
                                                                                    United States Bankruptcy Court for the Northern District of Illinois
                                                                                                                                                                                                    agreements as of
                                                                                    Case number
                                                                                    (If known)



                                                                               Form BKA-2030
                                                                               Disclosure of Compensation of Attorney for Debtor                                                                                        12/15


                                                                               Use this procedural form, if desired, to disclose the matters enumerated in 11 U.S.C. § 329 and Fed. R. Bankr. P. 2016(b).

                                                                               Disclosure is required within 14 days after the order for relief or another time as the court may direct. A supplemental disclosure is
                                                                               required within 14 days after any payment or agreement not previously disclosed.

                                                                               Attach a copy of the retainer agreement, if any.


                                                                                Part 1:              Compensation

                                                                                     For legal services, I have agreed to accept.......................... $4,500.00

                                                                                     Prior to the filing of this statement I have received
                                                                                         Retainer for legal services.............................................. $0.00

                                                                                            Retainer for expenses, including the court filing fee ......
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                                                                                     Balance Due ......................................................................... $4,500.00

                                                                               2. The source of the compensation paid to me was:

                                                                                          Debtor          Other (specify)

                                                                               3. The source of compensation to be paid to me is:

                                                                                          Debtor          Other (specify)       N/A

                                                                               4.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and
                                                                                            associates of my law firm.

                                                                                            I have agreed to share the above-disclosed compensation with another person or persons who are not members or
                                                                                            associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
                                                                                            compensation, is attached.



                                                                                Part 2:              Services

                                                                               5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

                                                                                     a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
                                                                                            bankruptcy.

                                                                                     b.     Preparation and filing of any petition, schedules, statement of affairs and plan that may be required.

                                                                                     c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof.

                                                                                     d.     Representation of the debtor in adversary proceedings and other contested bankruptcy matters.



                                                                               Form BKA-2030                                          Disclosure of Compensation of Attorney for Debtor                                     Page 1
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                                                                               Debtor 1   Jeanne Alvi                           Document     Page 40 of 42                                              Case number:


                                                                                   e.

                                                                                   f.

                                                                               6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:

                                                                                   (None)

                                                                               7. A copy of my retainer agreement       is      is not attached.



                                                                                Part 3:        Certification

                                                                                   I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
                                                                                   debtor(s) in this bankruptcy case.


                                                                                   /s/ Jeff Whitehead                                                                            08/20/2022
                                                                                   Jeff Whitehead ()                                                                             Date
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                                                                               Form BKA-2030                                 Disclosure of Compensation of Attorney for Debtor                                 Page 2
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                                                                                                       United States Bankruptcy Court
                                                                                                             Northern District of Illinois
                                                                                                                 Chicago Division


                                                                               In re: Alvi, Jeanne                                    Case No.



                                                                                                         VERIFICATION OF CREDITOR MATRIX

                                                                               I(we) verify that the attached list of creditors and the matrix file to be uploaded in this case
                                                                               are true and complete to the best of my(our) knowledge.


                                                                               /s/ Jeanne Alvi                                                                   08/20/2022
                                                                               Debtor                                                                            Date
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